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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                    HARRISON DIVISION


PAUL EUGENE LEDKINS                                                                        PLAINTIFF

        v.                          Civil No. 16-3079

JAILER GUSTIN. Carroll County
Detention Center (CCDC); LIEUTENANT
CRIBBS, CCDC; and SERGEANT
MORRELL, CCDC                                                                          DEFENDANTS



            REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This is a civil rights action filed by the Plaintiff pursuant to 42 U.S.C. § 1983. Plaintiff is

proceeding pro se and in forma pauperis.

        The claims at issue in this case arose during Plaintiff's incarceration in the Carroll County

Detention Center (CCDC). Plaintiff contends his constitutional rights were violated in the following

ways: (1) he was subjected to cruel and unusual punishment from May 19, 2016, to May 23, 2016,1

when he was denied medical care and was forced to sleep in his own urine and stool for three days

before getting clean bedding; (2) he was denied medical care on June 7, 2016, when he fell on his

right side, was having trouble breathing, and believed he had broken or fractured his ribs; (3) he was

removed from his cell," his rights were taken away, and he was denied the ability to purchase "legal

stuff" from the jail store in retaliation for his filing grievances and submitting a § 1983 form; and (4)

he was denied lunch on June 6, 2016. He alleges he suffered mental anguish, nightmares, loss of



        1
            These dates are sometimes listed as being May 19th or May 20th to May 22nd or May
23rd.

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sleep, and loss of weight.

       Defendants have filed a summary judgment motion (Doc. 20). A hearing was held on March

16, 2017, to allow Plaintiff to testify in response to the summary judgment motion. At the

conclusion of the hearing, the motion was taken under advisement pending preparation of this report

and recommendation.

       1. Background

       Plaintiff was booked into the CCDC on April 30, 2016. Defendants' Exhibit (hereinafter

Defts' Ex.) A-1 at 4. He remained incarcerated there until June 14, 2016. Id. at 47.

       On May 13, 2016, he was charged with delivery of a controlled substance, delivery of a

controlled substance near certain facilities, and use of a communication device. Defts' Ex. A-1. at

26-29. On May 16, 2016, Sergeant Lemus completed an affidavit of probable cause for Plaintiff for

allegedly trying to escape while he and ten other inmates were being escorted to court. Id. at 30-31;

see also Defts' Ex. A-3 at 3 (incident report). A disciplinary charge was filed and on May 19th,

Plaintiff was found guilty and sentenced to 50 days disciplinary segregation and 45 days loss of

privileges. Defts' Ex. A-3 at 5-6.

       With respect to his bedding, Plaintiff testified that on May 19, 2016, just prior to midnight

he soiled himself. Immediately after the incident, Plaintiff testified he rinsed out his boxers and put

them back on.

       On May 20, 2016, at about 7:00 or 8:00 pm, Plaintiff stated he told Jailer Gustin that his

bedding had urine and feces on it. He indicated he asked Jailer Gustin for clean linens but was told

it was not clean linen day. This was the only time he talked to Jailer Gustin about the need for clean

linens. Plaintiff indicates his jump suit was also soiled.

       On May 21, 2016, unidentified jailers came and took the dirty bedding and did not return

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with anything. Later that evening, the jailers took Plaintiff's jump suit. Plaintiff was left with only

his mattress which he testified was dirty. The mattress had a rubberized covering. Plaintiff testified

that the covering was shredded and the mattress was soaked. Plaintiff did flip it over.

        The following day, Plaintiff was brought what he was told were clean linens. However,

Plaintiff testified it was actually the soiled bedding that was returned to him. During this time

period, Plaintiff indicated he asked all officers for clean bedding. He testified he was told if he kept

pushing the button he was going to be in trouble. He indicates he could not eat or sleep under these

conditions and suffered mentally.

        On May 23, 2016, Lieutenant Cribbs investigated the situation and ordered the Plaintiff to

be given clean bedding. Several hours later, Plaintiff testified Lieutenant Cribbs moved an older

gentlemen in the cell. However, he said he could not live in that cell and was moved to another cell.

Plaintiff was directed to clean the dirty cell.

        During this time period, Plaintiff testified he was let out during recreation. He indicated that

grievances were submitted via an electronic kiosk. Initially, Plaintiff testified he was not able to use

the kiosk during this time period; however, when it was pointed out that he had submitted a

grievance of May 20, 2016,2 he testified that he did not mention the soiled linen at that time because

his linens had been taken and he believed he was getting clean linens. It was not until after dinner

that he found out they had returned the same soiled linens to him.

        Plaintiff's May 20th grievance asked why he was not allowed to email. Defts' Ex. A-4 at 9.

Lieutenant Cribbs responded "IT IS A PRIVILEGE NOT A RIGHT. YOU ARE STILL ALLOWED

REGULAR MAIL." Id. Plaintiff appealed. Later that day, Sergeant Morrell denied his appeal



        2
            Plaintiff was not consistent in his testimony as to what occurred on what specific date.

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stating Plaintiff could use regular mail. Id.

        On May 20, 2016, Plaintiff also submitted a request asking that legal and personal mail be

placed in his personal property up front. Defts' Ex. A-5 at 11. In reply, he was told the officers

would pick it up and put it in his property box. Id. There is no mention of his bedding or the

condition of his cell.

        On May 20, 2016, he submitted a request asking if he was being singled out for punishment

because he believed he was the only person not being allowed e-mail. Defts' Ex. A-5 at 12. He also

asked if he could purchase cough drops. Id. Sergeant Morrell replied that no one on disciplinary

restriction was allowed to use e-mail but could use regular mail. Id. Sergeant Morrell indicated

Plaintiff could order cough drops. Id. There is no mention of his bedding or the condition of his

cell.

        On May 21, 2016, Plaintiff submitted a request asking if he would receive a refund on his

account because he did not receive his E-cig on May 20, 2016. Defts' Ex. A-5 at 13. Lieutenant

Cribbs replied the E-cig was in Plaintiff's property and he would receive it once he was released from

disciplinary segregation. Id. There is no mention of his bedding or the condition of his cell. In his

deposition, Plaintiff said he had other inmates submitting grievances/requests for him. Defts' Ex.

B at 21.

        On May 21, 2016, Plaintiff submitted a grievance stating that when he was released from

prison in Missouri he had been on mental health medication. Defts' Ex. A-4 at 10. He stated he

believed not being on the medication was resulting in anxiety attacks, depression, and paranoia. Id.

In response, Lieutenant Cribbs replied that the nurse was attempting to verify his medication with

the Missouri prison. Id. Lieutenant Cribbs also indicated they would not accept this as an excuse

for attempting to escape or other crimes or violations of jail rules. Id. There is no mention of his

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bedding or the condition of his cell.

       On May 21, 2016, Plaintiff submitted a medical request stating that he had been on

medication in the Missouri and felt not being on medication was causing him to suffer anxiety

attacks and paranoia. Defts' Ex. A-2 at 14. He also stated that he did not believe he was being given

the right amount of food and was losing weight. Id. He indicated he accidentally urinated in his

sleep and was refused clean sheets and a blanket on May 20, 2016. Id. He believed being placed

back on Clonazepam would prevent anxiety attacks and clean bedding issues. Id. The nurse

responded that she was talk to the doctor. Id.

       On May 23, 2016, Plaintiff did submit a grievance about being denied clean bedding after

he accidentally urinated on himself while sleeping. Defts' Ex. A-4 at 11-12. He said he went from

midnight on May 20, 2016, until May 23, 2016, "after midnight having to sleep in my own urine

while all officers was notified of this. and just laughed at the situation and left me to remain in

sleeping in my own urine." Id. at 11. Plaintiff indicated he submitted this grievance himself by

"jumping on" the kiosk when he was not being supervised. Defts' Ex. B at 27.

       In response, he was told he was given a clean blanket and sheet on Sunday, May 22, 2016.

Id. Plaintiff agreed; however, he stated that "from 5-19-16 till 5-22-16 I had to sleep in my own

urine and stool." Id. Plaintiff's hearing and deposition testimony differed in that he said on May 22,

2016, the blanket and sheet he was given was the same dirty linen they had taken away. Defts' Ex.

B at 25.

       On May 23, 2016, Officer Young submitted an incident report. Defts' Ex. A-3 at 7-9. Officer

Young indicated he and Officer Pepple were called to C-pod to investigate the situation with regard

to Plaintiff's claim that he had soiled his sheet and blanket four days ago and had not received a new

set. Id. They confirmed that Plaintiff did not have the sheet or blanket. Id. Plaintiff indicated an

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officer had taken his blanket and sheet but he did not know the name of the officer. Id. at 10.

         Plaintiff was given a new sheet and blanket. Defts' Ex. A-3 at 7-9. Officer Young also noted

that on May 20th, Plaintiff had a blanket and sheet but his blanket was in the corner with his mat

because he wanted to turn them in and his sheet was draped over him on the ground. Id.

         Sheriff Randy Mayfield asserts that "[i]nmates are provided clean bedding on a regular basis

and will be provided clean bedding should their bedding become damaged or soiled in such a way

to make the bedding inappropriate for use." Defts' Ex. A at ¶ 4. If bedding "is soiled with urine or

feces, the bedding should be replaced as soon as the problem is known." Id.

         On May 23, 2016, Plaintiff was taken to medical to review his weight and discuss his needs.

Defts' Ex. A-2 at 9. His weight was recorded as 122. Id. at 10.

         On May 24, 2016, Lieutenant Cribbs ordered Plaintiff to receive clean stripes and any other

bedding as needed. Defts' Ex. A-6 at 2. On May 24, 2016, Sergeant Morrell was performing the

routine task of reviewing e-mails sent from, and to, inmates at the facility. Defts' Ex. A-3 at 13. She

discovered another inmate Samuel Alburtis had sent e-mails on Plaintiff's behalf and that Plaintiff

had sent e-mails using Alburtis's name. Id. Because he was on disciplinary confinement, Plaintiff

was not allowed to e-mail. Id. She discovered Nicholas Hoffman, another inmate, made a call on

Plaintiff's behalf and read a letter from him. Id. Inmates Alburtis, Hoffman, and Plaintiff were all

charged with involvement in circumventing disciplinary or jail policy. Id. Plaintiff was found guilty.

Id. at 14. In his deposition, Plaintiff admitted to using other inmates to send e-mail. Defts' Ex. B

at 29.

         On May 27, 2016, Plaintiff submitted a grievance about his legal mail. Defts' Ex. A-4 at 15.

He asked why it was not being sent out of the jail. Id. He said he had sent writs to the Berryville,

Arkansas, courthouse and felt they would have been acknowledged if received. Id. In response, he

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was told they did not hold properly marked and processed legal mail. Id. In fact, Plaintiff was told

the jail even paid the postage if he was indigent. Id. Plaintiff appealed saying he felt his legal mail

was being stolen by certain officers to prevent their illegal actions from being discovered. Id.

Lieutenant Cribbs responded that Plaintiff's legal mail should be marked legal, sealed by him in the

presence of the receiving officer, and then processed out with regular mail. Id. If Plaintiff had "any

evidence that an officer [was] stealing your mail," Lieutenant Cribbs said he wanted to see it. Id.

Lieutenant Cribbs said he had arrested more than one officer. Id.

        Plaintiff responded there was no doubt his legal mail was being stolen by one of the jail

officers. Defts' Ex. 4 at 18. He noted that his writs had been sent to the Carroll County Courts three

weeks ago and still had not been received. Id. Lieutenant Cribbs stated he needed evidence such

as dates, names of the officers that picked up the mail allegedly stolen, etc., to be able to perform an

investigation. Id.

        Plaintiff indicated he believed his legal mail began being stolen in May. Defts' Ex. A-4 at

17. Lieutenant Cribbs responded by listing the days legal mail was sent on Plaintiff's behalf and

where it was sent. Id. Plaintiff was then asked what legal mail had been stolen. Id.

        On May 27, 2016, Officer Gustin submitted a jail incident report that said:

        [I] DO RECALL INMATE LEDHINS ASKING FOR ANOTHER BLANKET AN
        A SHEET HE STATED HE WANTED HIS CLEANED I SAID WE DO NOT DO
        THAT AT THIS TIME AND INMATE LEDKING DID NOT SAY ANY THING
        TO ME ABOUT URINE BEING ON HIS BLANKET ALL I WAS TOLD WAS HE
        WANTED HIS CLEANED NOTHING WAS SAID AFTER THAT TIME.

Defts' Ex. A-3 at 9.

        On May 28, 2016, Plaintiff submitted a request in which he complained that his legal mail

was being stolen by the jailers. Defts' Ex. A-5 at 23. He stated he had "sent 3 writs of protection



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orders to this court and not one [h]as been responded to." Id. Lieutenant Cribbs responded by asking

him to produce evidence of wrongdoing by any officer working at the Sheriff's Office. Id.

       On May 30, 2016, Plaintiff said he had evidence that officers were bringing in illegal

contraband. Defts' Ex. A-5 at 24. He also said a sergeant told him to have his legal mail put in his

property and sign a release so his family could pick it up. Id.

       On May 31, 2016, Plaintiff weight was 123. Defts' Ex. A-2 at 10, 18. On June 3, 2016,

Plaintiff submitted a medical request stating that he was so weak he could not move or walk. Id. at

19. He asked to be put on a double tray to regain his weight. Id.

       On June 1, 2016, Plaintiff submitted a request about losing weight. Defts' Ex. A-5 at 25. He

said his body felt weak. Id. He indicated that he thought the doctor should put him on some type

of food order to regain weight. Id. The nurse responded that she was trying to get his records from

the Missouri prison. Id. She also noted she had been advised by the kitchen that not only was he

refusing the beans but that he was refusing to eat most of his other food too. Id. She said if he

refused to eat, he would continue to lose weight. Id.

       On June 3, 2016, Plaintiff replied that he eats everything on the tray all three meals except

for the beans. Defts' Ex. A-5 at 29. He asked to be placed on double portion meals until he regained

his weight. Id. He noted he was so weak he could barely walk. Id. He asked to see the doctor and

asked for an extra blanket because he felt cold as a result of his loss of weight. Id. He felt this

qualified as a medical emergency. Id. The nurse responded that he would be weighed and the doctor

contacted. Id.

       His weight was recorded as 131 on June 3, 2016. Defts' Ex. A-2 at 9-10. Dr. Bell felt that

Plaintiff was underweight and ordered him to receive double portions until his weight was 150. Id.


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          On June 6, 2016, Plaintiff was sleeping when lunch was passed out and missed the meal.

Plaintiff testified he submitted a grievance via the electronic kiosk about the issue. Plaintiff testified

he missed other meals because they kept moving him. Defts' Ex. B at 42. He indicated he was

scared and nervous. While he was given the opportunity to eat, he did not do it. Id.

          On June 7, 2016, Plaintiff testified he was let out of his cell to take a shower.3 Plaintiff

slipped and fell. He testified the pain was so bad that he could not breathe. The following day,

Plaintiff testified he was seen by the nurse. He indicated the only thing she did was have him take

deep breaths. He testified he was in pain for six months. When he was transferred to prison,

Plaintiff stated he was told the problem was with his back and not his ribs.

          On June 7, 2016, Plaintiff requested to be placed back in C-265 as he felt he was had been

moved in retaliation for filing this complaint. Defts' Ex. A-4 at 19. He said he had lost 40 pounds,

was not able to use the kiosk machine, was not receiving his hour out, and was not getting to see the

doctor. Id. He said he fell in front of an officer and fractured his ribs. Id. He indicated he was

given no help at the time. Id.

          On June 8, 2016, Nathan Dresbenstedt noted that Plaintiff complained about his ribs, the

upper right side just under the nipple line. Defts' Ex. A-6 at 2. Plaintiff reported that he fell and his

side hit the cinder block bench in his cell a few days ago. Id. Dresbenstedt observed and palpated

the area and found no bruising or crepitus. Id. On June 8, 2016, Plaintiff's weight was 134.

          On June 13, 2016, Plaintiff submitted a medical request about receiving a tray full on beans

which he was allergic to. Defts' Ex. A-2 at 28. He believed this act was taken in retaliation for his


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            In his deposition, Plaintiff testified he injured his ribs on the same night he soiled himself. Defts' Ex. B at 13. He
stated he fell out of his bunk and injured his side. Id. He said it was hurting so bad he could hardly breathe. Id. Plaintiff
testified he was told that he would have to see the nurse there was nothing the officers could do. Id.

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having filed this case. Id. That same day, Plaintiff submitted a grievance dealing with the same

issue. Defts' Ex. A-4 at 22. On June 14, 2016, Plaintiff was transferred to the Arkansas Department

of Correction. Defts' Ex. A-1 at 47.

        With respect to Lieutenant Cribbs, Plaintiff testified he talked to him on May 23, 2016.

Plaintiff indicated he named him as a Defendant because he is one of the jail supervisors. Plaintiff

indicated Lieutenant Cribbs assured him everything would have be taken care of but it was not.

Defts' Ex. B at 47.

        With respect to Sergeant Morrell, Plaintiff testified she was named as a Defendant because

she is a supervisor. He also testified that it was his belief that she was the one who "pulled his

letters" and refused to notarize his legal work. Defts' Ex. B at 46-47. Plaintiff stated he tried to talk

to Sergeant Morrell during the incident but she did not respond. Id. at 48.

        With respect to the official capacity claim, Plaintiff thinks Defendants went against policy

because he had unclean sheets, asked for help, and was refused. Defts' Ex. B at 49. He felt

Defendants had personally caused his problems. Id.

        Plaintiff testified his mental damages are nightmares and fears of going home. Defts' Ex. B

at 43-44. Plaintiff fears going home because he believes "they're going to set him up." Id.

        2. Summary Judgment Standard

        Summary judgment is appropriate if, after viewing the facts and all reasonable inferences in

the light most favorable to the nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587 (1986), the record "shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). "Once a party

moving for summary judgment has made a sufficient showing, the burden rests with the non-moving


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party to set forth specific facts, by affidavit or other evidence, showing that a genuine issue of

material fact exists.” National Bank of Commerce v. Dow Chemical Co., 165 F.3d 602, 607 (8th

Cir. 1999).

       The non-moving party "must do more than simply show that there is some metaphysical

doubt as to the material facts." Matsushita, 475 U.S. at 586. "They must show there is sufficient

evidence to support a jury verdict in their favor." National Bank, 165 F.3d at 607 (citing Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)). "A case founded on speculation or suspicion is

insufficient to survive a motion for summary judgment." Id. (citing, Metge v. Baehler, 762 F.2d 621,

625 (8th Cir. 1985)).

       3. Discussion

       Defendants contend they are entitled to summary judgment because: (1) there is no evidence

of personal involvement by Lieutenant Cribbs or Sergeant Morrell; (2) there were no constitutional

violations; (3) they are entitled to qualified immunity; and (4) there is no basis for an official

capacity claim.

       (A). Cell Conditions

       “[W]hen the State takes a person into its custody and holds him there against his will, the

Constitution imposes upon it a corresponding duty to assume some responsibility for his safety and

general well-being.” County of Sacramento v. Lewis, 523 U.S. 833, 851 (1998)(internal quotation

marks and citation omitted). The Constitution does not mandate comfortable prisons, but neither

does it permit inhumane ones. See Farmer v. Brennan, 511 U.S. 825, 832 (1994).

       The Eighth Amendment to the United States Constitution prohibits the imposition of cruel

and unusual punishment. U.S. Const. amend. VIII. See also Butler v. Fletcher, 465 F.3d 340, 345


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(8th Cir. 2006)(deliberate indifference standard of the Eighth Amendment applies to claims brought

by both pretrial detainees and convicted inmates that prison officials failed to provide adequate food,

clothing, shelter, etc.). The Cruel and Unusual Punishment Clause of the Eighth Amendment forbids

conditions that involve the “wanton and unnecessary infliction of pain,” or are “grossly

disproportionate to the severity of the crime.” Rhodes v. Chapman, 452 U.S. 337, 347 (1981).

       “A prisoner alleging an Eighth Amendment violation must prove both an objective and

subjective element. Revels v. Vincenz, 382 F.3d 870, 875 (8th Cir. 2004)(citing Wilson v. Seiter,

501 U.S. 294, 298 (1991)). “The defendant’s conduct must objectively rise to the level of a

constitutional violation by depriving the plaintiff of the minimal civilized measure of life’s

necessities. The defendants’ conduct must also reflect a subjective state of mind evincing deliberate

indifference to the health or safety of the prisoner.” Revels, 382 F.3d at 875 (citations and internal

quotation marks omitted). Deliberate indifference is established when the plaintiff shows “the

defendant was substantially aware of but disregarded an excessive risk to inmate health or safety.”

Revels, 382 F.3d at 875. The standards against which a court measures prison conditions are “the

evolving standards of decency that mark the progress of a maturing society.” Estelle v. Gamble, 429

U.S. 97, 102 (1976).

       Keeping these principles in mind, we turn to an examination of the conditions of confinement

alleged to exist in this case. Although Plaintiff provided conflicting testimony about the dates and

times he spent with soiled bedding, for purposes of this motion, we will assume the facts in the light

most favorable to the Plaintiff. We will therefore assume that Plaintiff had soiled bedding from

midnight on May 19th until shortly after 9:50 a.m. on May 23rd. During this time, Plaintiff testified

he rinsed out his boxers and was able to turn his mattress over to avoid the wet area. During this


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same period of time, Plaintiff either himself, or through other inmates, submitted five grievances

which made no mention of his soiled bedding. His first mention of soiled bedding appeared in a

medical request which was responded to by the nurse. It was not until May 23rd that he submitted

a grievance/request to the Defendants.

        In Smith v. Copeland, 87 F.3d 265 (8th Cir. 1996) the Eighth Circuit noted that not every

“overflowed toilet in a prison amounts to a constitutional violation.” Id. at 268. The court noted

it had found constitutional violations to exist when inmates were forced to work without protective

gear in “a shower of human excrement,” and had ordered prisons to provide protective gear and to

warn of the dangers of working in AIDS-contaminated waste. Id. at 269. It had also found a

constitutional violation to exist when “an inmate was forced to endure a cell covered with filth and

human waste for two full years.” Id. The Eighth Circuit noted that “the length of time a prisoner

is subjected to harsh conditions is a critical factor in our analysis.” Id. It stated that “[c]onditions

such as a filthy cell that “may be tolerable for a few days are intolerably cruel for weeks or months.”

Id. In the case before it, viewed in the light most favorable to the plaintiff, the summary judgment

materials showed the plaintiff was subjected to a “overflowed toilet in his cell for four days.” Smith,

87 F.3d at 269. Under the totality of the circumstances, the court held the defendants entitled to

judgment as a matter of law on the raw sewage claim.       Id.

        In Whitnack v. Douglas County, 16 F.3d 954 (8th Cir. 1994), the inmates were in a cell

where the "toilet was covered with dried feces on both the inside and outside, the sink was covered

with hair and vomit, the floor was covered with garbage and rotting food, and the walls were covered

with dried human mucus." Id. at 956. In Whitnack, the Court held the conditions insufficient to

state an Eighth Amendment claim. However, the holding was "largely dependent on the very short


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period of time during which the plaintiffs were confined in Cell C-18 before they were given full and

adequate cleaning supplies. [T]he intolerable conditions lasted not more than 24 hours before the

availability of adequate cleaning supplies would make them tolerable." Id. at 958. See also White

v. Nix, 7 F.3d 120, 121 (8th Cir. 1993)(relative brevity of the stay, eleven days, coupled with the fact

that inmate would have been given cleaning supplies if he asked for them did not state an Eighth

Amendment claim); Harris v. Fleming, 839 F.2d 1232, 1234-36 (7th Cir. 1988)(no Eighth

Amendment claim where inmate contended he had no toilet paper for five days, no soap, toothbrush

or toothpaste for ten days, and was kept in a filthy, roach infested cell).

        Examining the totality of the circumstances, we do not believe Plaintiff has stated an Eighth

Amendment claim. A number of factors lead to this conclusion; the length of time was brief--at

most 4 days; Plaintiff was able to rinse out his clothing; Plaintiff could only recall asking Defendant

Gustin for clean clothing; Plaintiff either himself, or through other inmates, submitted multiple

grievances during this time period not mentioning the fact that he had soiled himself and needed

clean bedding; Plaintiff was able to use the other side of his mattress; and as soon as Lieutenant

Cribbs learned of the incident he had it investigated and clean bedding provided to Plaintiff.

Additionally, there is no showing that the conditions placed Plaintiff at a substantial risk of harm.

Farmer, 511 U.S. at 837. Having reached this conclusion, the Court notes that it does not condone

subjecting any inmate to these conditions; rather, the Court merely finds the conditions do not state

a claim under the Eighth Amendment.

        (B). Denial of Medical Care

        To prevail on a denial of medical care claim, the Plaintiff must show: (1) the existence of an

objectively serious medical need, and (2) that Defendants knew of and deliberately disregarded that


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need. Vaughn v. Gray, 557 F.3d 904, 908-09 (8th Cir. 2009). Defendants’ mental state must be akin

to criminal recklessness. Id. This standard is not met by the exercise of professional judgment in

refusing to implement an inmate’s requested course of treatment. Jolly v. Knudsen, 205 F.3d 1094,

1096 (8th Cir. 2000) (constitutional violation cannot rest on mere disagreement with treatment

decisions); Dulany v. Carnahan, 132 F.3d 1234, 1239 (8th Cir. 1997) (inmates have no constitutional

right to particular course of treatment, and doctors are free to use their own medical judgment);

Logan v. Clarke, 119 F.3d 647, 649-50 (8th Cir. 1997) (prison doctors not deliberately indifferent

where they treated the prisoner and offered sensible medication). Similarly, “[m]erely demonstrating

that a prison [nurse] committed medical malpractice is insufficient to establish deliberate

indifference.” Jackson v. Buckman, 756 F.3d 1060, 1065-66 (8th Cir. 2014) (citations omitted). To

constitute deliberate indifference, “[a]n inmate must demonstrate that a prison [nurse's] actions were

so inappropriate as to evidence intentional maltreatment or a refusal to provide essential care.” Id.

at 1066 (internal quotation marks and citation omitted).

       “Liability under section 1983 requires a causal link to, and direct responsibility for, the

deprivation of rights. To establish personal liability of the supervisory defendant, [Plaintiff] must

allege specific facts of personal involvement in, or direct responsibility for, a deprivation of his

constitutional rights.” Clemmons v. Armontrout, 477 F.3d 962, 967 (8th Cir. 2007) (quoting

Mayorga v. Missouri, 442 F.3d 1128, 1132 (8th Cir. 2006)); Keeper v. King, 130 F.3d at 1314 (no

evidence that the defendants were doctors or were personally involved in making medical decisions

about treatment); Mark v. Nix, 983 F.2d 138, 139-40 (8th Cir. 1993) (section 1983 liability requires

some personal involvement or responsibility).

       There are no allegations that the named Defendants were involved in anyway with the


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decision of whether the Plaintiff should receive medical treatment, the type of medication he should

be prescribed, or what tests should be ordered. Defendants are entitled to summary judgment on the

individual capacity claims against them.

        (C). Denial of Meals

        The Eighth Amendment requires inmates to be provided with “nutritionally adequate food.”

Wishon v. Gammon, 978 F.2d 446, 449 (8th Cir. 1992). Failure to provide adequate nutrition can

constitute deliberate indifference. Id.; see also Hartsfield v. Colburn, 491 F.3d 394, 396 (8th Cir.

2007)(Deliberate indifference is the appropriate standard of culpability for all claims that prison

officials failed to provide pretrial detainees or convicted inmates with adequate food, clothing,

shelter, medical care, and reasonable safety). “Deliberate indifference is equivalent to criminal-law

recklessness, which is more blameworthy than negligence, yet less blameworthy than purposefully

causing or knowingly bringing about a substantial risk of serious harm to the inmate. An obvious

risk of harm justifies an inference that a prison official subjectively disregarded a substantial risk of

serious harm to an inmate.” Schaub v. VonWald, 638 F.3d 905, 914-15 (8th Cir. 2011)(internal

quotation marks and citations omitted).

        To prevail on an Eighth Amendment claim, an inmate must prove both an objective
        and a subjective element. First, the alleged deprivation, objectively, must be
        sufficiently serious; the prison official’s act or omission must result in the denial of
        the minimal civilized measure of life’s necessities; or the prison official must
        incarcerate the inmate under conditions posing a substantial risk of serious harm.
        Second, the prison official, subjectively, must act with deliberate indifference to
        inmate health or safety.

Simmons v. Cook, 154 F.3d 805, 807 (8th Cir. 1998)(internal quotation marks and citations

omitted).

        No such showing can be made based on the undisputed facts in this case. Plaintiff testified


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that he missed lunch on a single day because he was sleeping during meal time. On one other

occasion, he sent his tray back because it had consisted of beans a food he testified he was allergic

to. Finally, he testified he occasionally missed a meal because he was being moved from one cell

to a different cell; however, in those instances, he indicated he was usually offered a meal.

       “The deprivation of food constitutes cruel and unusual punishment only if it denies a prisoner

the ‘minimal civilized measure of life’s necessities.’” Talib v. Gilley, 138 F.3d 211, 214 n. 3 (5th

Cir. 1998)(expressing doubt that Talib who missed about fifty meals in five months and lost fifteen

pounds met this threshold)(quoting Wilson v. Seiter, 501 U.S. 294, 298 (1991)). “Whether the

deprivation of food falls below this threshold depends on the amount and duration of the

deprivation.” Green v. Ferrell, 801 F.2d 765, 770 (5th Cir. 1986); see also Simmons v. Cook, 154

F.3d 805, 808 (8th Cir. 1998)(in thirty-two hour confinement inmates missed four consecutive meals

because their wheelchairs could not reach the food tray slot). A few missed meals did not endanger

Plaintiff’s health in anyway.    See Jaros v. Illinois Dept. of Correction, 684 F.3d 667 (7th Cir.

2012)(Occasional missed meal that did not endanger the inmate did not state a claim); Palmer v.

Johnson, 193 F.3d 346, 352 (5th Cir. 1999)(“That [the inmate] may have missed one meal . . . does

not rise to the level of a cognizable constitutional injury”).

       With respect to Plaintiff's loss of weight, medical personnel were monitoring this and in fact

had ordered the Plaintiff to receive double portions until he regained weight. No evidence was

introduced suggesting Defendants interfered in anyway with this medical order. Defendants are

entitled to summary judgment on this claim.

       (D). Retaliation

       In L.L. Nelson Entrs., Inc. v. City of St. Louis, Mo., 673 F.3d 799, 807-08 (8th Cir. 2012)



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the court stated that:

        [t]o establish a § 1983 claim for retaliation in violation of the First Amendment, a
        plaintiff must allege (1) that [he] engaged in a protected activity, (2) that the
        defendants responded with adverse action that would chill a person of ordinary
        firmness from continuing the activity, and (3) that the adverse action was motivated
        at least in part by the exercise of the protected activity.

Id. (internal quotation marks and citations omitted). “In brief, the plaintiff must show the official

took the adverse action because the plaintiff engaged in protected speech.” Revels v. Vincenz, 382

F.3d 870, 876 (8th Cir. 2004). The filing of a grievance and the filing of a lawsuit is protected First

Amendment activity. Haynes v. Stephenson, 588 F.3d 1152, 1155-56 (8th Cir. 2009).

        Plaintiff testified he was retaliated against in the following ways because he submitted

grievances and/or filed this case : (1) he was denied the right to purchase "legal stuff" from the jail

store; (2) his legal mail was not being sent out; and (3) he was served a tray full of beans. Plaintiff's

claim fails because he has not alleged that any of the Defendants were personally involved in, or in

some other way responsible for, the alleged retaliatory actions. Plaintiff has not suggested Jailer

Gustin was involved in any way in these actions. As discussed in more detail above, Defendants

Lieutenant Cribbs and Sergeant Morrell cannot be held liable merely because they occupy

supervisory positions. Defendants are entitled to summary judgment on this claim.

        (E). Interference with Mail

        “Inmates have a First Amendment right of free speech to send and receive mail. Hudson v.

Palmer, 468 U.S. 517, 547 (1984). “The fact of confinement and the needs of the penal institution

impose limitations on constitutional rights, including those derived from the First Amendment.”

Jones v. North Carolina Prisoners’ Union, 433 U.S. 119, 125 (1977).

        “Prisoners’ First Amendment rights encompass the right to be free from certain interference


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with mail correspondence.” Davis v. Norris, 249 F.3d 800, 801 (8th Cir. 2001). “Interference with

legal mail implicates a prison inmate’s right to access to the courts and free speech as guaranteed by

the First and Fourteenth Amendments to the U.S. Constitution.” Davis v. Goord, 320 F.3d 346, 351

(2d Cir. 2003). “A prison policy that obstructs privileged inmate mail can violate inmates’ right of

access to the courts.” Weiler v. Purkett, 137 F.3d 1047, 1051 (8th Cir. 1998).

       Restrictions on this First Amendment right are valid “only if [they are (1)] reasonably related

to legitimate penological interests,”such as security, order, or rehabilitation and are (2) no greater

than necessary to the protection of the governmental interest involved. Turner v. Safely, 482 U.S.

78, 89 (1987). In balancing the competing interests, courts afford greater protection to legal mail

than non-legal mail and greater protection to outgoing mail than to incoming mail. See Thornburgh

v. Abbott, 490 U.S. 401, 413 (1989).

       Plaintiff believes some mail he sent to the court in Berryville was intercepted or stolen. He

bases this belief on the fact that he had not heard back from the Berryville court about certain writs

he sent to the court. At the time, Plaintiff was represented by counsel.

       This claim fails for several reasons. First, the claim fails because he does not contend that

any of the named Defendants interfered with his mail. While he initially testified Sergeant Morrell

pulled the letters, he then admitted he had no idea if she was involved personally but that she was

in charge and the letters were missing. As discussed above, a Defendant cannot be held liable absent

their personal involvement in an alleged constitutional deprivation. Second, the claim fails because

Plaintiff has not shown that his legal position was prejudiced by the alleged interference with his

legal mail. See e.g., Gardner v. Howard, 109 F.3d 427, 431 (8th Cir. 1997)(claim fails without

evidence of improper motive or resulting interference with inmate's right to counsel or access to


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courts); see also Walker v. Navarro County Jail, 4 F.3d 410, 413 (5th Cir. 1993)(an inmate shows

actual injury by establishing his position as a litigant was prejudiced due to the disputed acts).

Defendants are therefore entitled to summary judgment on this claim.

       (F). Qualified Immunity

       Having found that the facts do not make out a constitutional violation, Defendants are

entitled to qualified immunity in their individual capacity. See, e.g., Krout v. Goemmer, 583 F.3d

557, 564 (8th Cir. 2009) (unless the facts make out a violation of a constitutional right the Defendant

is entitled to qualified immunity).

       (G). Official Capacity Claim

       Finally, Defendants argue that Plaintiff has failed to point to any unconstitutional county

policy or custom. I agree. An official capacity claim “is functionally equivalent to a suit against the

employing governmental entity.” Veatch v. Bartels Lutheran Home, 627 F.3d 1254, 1257 (8th Cir.

2010). In other words, the official capacity claim is treated as a claim against Carroll County. See

Murray v. Lene, 595 F.3d 868, 873 (8th Cir. 2010).

       “A municipality can be liable under § 1983 only if a municipal policy or custom caused a

plaintiff to be deprived of a federal right.” Alexander v. Hedback, 718 F.3d 762, 766 (8th Cir.

2013)(citations omitted). “A governmental policy involves a deliberate choice to follow a course

of action . . . made from among various alternatives by an official who has the final authority to

establish governmental policy.” Brockinton v. City of Sherwood, 503 F.3d 667, 674 (8th Cir. 2007)

(internal quotations and citations omitted). A “custom involves a pattern of persistent and

widespread . . . practices which become so permanent and well settled as to have the effect and force

of law.” Id.


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          “[O]ur first inquiry in any case alleging municipal liability under § 1983 is the question

whether there is a direct causal link between a municipal policy or custom and the alleged

constitutional deprivation.” City of Canton v. Harris, 489 U.S. 378, 385 (1989). “Moreover, the

plaintiff must show not only that a policy or custom existed, and that it was causally related to the

plaintiff’s injury, but that the policy itself was unconstitutional.” Luckert v. Dodge County, 684 F.3d

808, 820 (8th Cir. 2012) (internal quotation marks and citation omitted).

          Here, Plaintiff makes no such showing. In fact, he testified that he believed the Defendants

went against Carroll County policy. There is simply no basis on which Carroll County may be held

liable.

          4. Conclusion

          For the reasons stated, I recommend that Defendants' motion for summary judgment (Doc.

20) be GRANTED and the case DISMISSED WITH PREJUDICE.

          The parties have fourteen (14) days from receipt of the report and recommendation in

which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

objections may result in waiver of the right to appeal questions of fact. The parties are

reminded that objections must be both timely and specific to trigger de novo review by the

district court.

          DATED this 5th day of July 2017.




                                                         /s/ J. Marschewski
                                                          HON. JAMES R. MARSCHEWSKI
                                                          UNITED STATES MAGISTRATE JUDGE



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